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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

20cr00172 (DLC)

UNITED STATES OF AMERICA,
ORDER

 

-V-

 

 

JOBRL CABRERA a/k/a “Gordo,” a/k/a : USDC SDNY

“Oso,” :
Defendant. : DOCUMENT

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DENISE COTE, District Judge:

An Order dated October 9, 2020, granted the parties’
request to consolidate for trial the above-captioned case with
United States of America v. Reynoso-Hiciano, et al., 20cr388.

Criminal jury trials have resumed in the Southern District
of New York. Jury trials are being conducted in compliance with
the safety procedures implemented in this district. In order to
comply with those safety procedures, jury trials require complex
planning and coordination. This district is currently planning
to accommodate criminal jury trials that shouid occur between
January and March 2021.

The trial date in this case is scheduled to occur on
March 1, 2021. Should the defendant wish to resolve the charges
by entering a plea of guilty, he should confer with the
Government and arrange with the Court to enter a plea no later
than three weeks before the date scheduled for trial. it is

hereby

 

 
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ORDERED that defense counsel shall advise the Court by
November 6, 2021 whether the defendant currently intends to

proceed to trial.

Dated: New York, New York
October 16, 2020

[aslo

DE NISE COTE
United States District Judge

 
